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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                       CENTRAL DIVISION

CAROL LEHMKUHL, Individually and
on Behalf of All Others Similarly Situated                     PLAINTIFF

v.                         No. 4:20-cv-518-DPM

TRAVEL NURSE ACROSS
AMERICA, LLC                                                 DEFENDANT

                                  ORDER
       Carol Lehmkuhl is a surgical technician who worked for Travel
Nurse Across America. The company hires medical professionals and
assigns them to different medical facilities that need staff. Lehmkuhl
alleges that Travel Nurse didn't pay her enough overtime while she
was on assignment. Travel Nurse seeks judgment as a matter of law
based on Lehmkuhl's complaint. FED. R. Crv. P. 12(c).
       The Court accepts all the pleaded facts as true and takes all
reasonable inferences in Lehmkuhl's favor. Poehl v. Countrywide Home
Loans, Inc., 528 F.3d 1093, 1096 (8th Cir. 2008). Travel Nurse didn't
include meal allowances, housing allowances, or on-call bonuses when
calculating overtime. Lehmkuhl hasn't pleaded sufficient facts that the
allowances were nonexcludable because they did not reasonably
approximate travel expenses incurred. 29 U.S.C. § 207(e)(2); 29 C.F.R.
§   778.217(a). Lehmkuhl' s pleadings about the bonuses is sufficient. It's
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plausible that the bonuses weren't exempt because they were based on
a pre-set formula, appear to have been promised in advance, and
weren't discretionary. Doc. 1 at 4; 29 C.F.R. §§ 778.208 & 778.211(b).
     Motion for judgment on the pleadings, Doc. 7, partly granted and
partly denied. Embedded request to amend, Doc. 11 at 6, granted.
Amended complaint due by 7 August 2020. Answer and response to
the motion to certify due by 21 August 2020. Reply due seven days
after the response is filed.
     So Ordered.



                                          D .P. Marshall Jr.
                                          United States District Judge




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